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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 ALEXANDER MILLAN,

       Plaintiff,
                                                      Case No. 3:18-cv-00353-DB
 v.

 THE CBE GROUP, INC.,                                 Honorable David Briones

       Defendant.

                               PROPOSED DISCOVERY PLAN

      Pursuant to the Court’s January 22, 2019 Order to Comply with Federal Rule of Civil
Procedure 22 and Local Court Rule CV-16 [Doc. # 6], the parties submit the following:

      1. What changes should be made in the timing, form, or requirement for disclosures
         under Rule 26(a), including a statement of when initial disclosures were made or will be
         made;

         None.

         The parties will exchange discovery disclosures required by Rule 26(a)(1) by March
         8, 2019.

      2. The subjects on which discovery may be needed, when discovery should be completed,
         and whether discovery should be conducted in phases or be limited to or focused on
         particular issues;

         The parties expect to conduct discovery regarding (i) communications between the
         parties; (ii) Defendant’s policies and procedures; (iii) dialing system used by
         Defendant; and (iv) Plaintiff’s alleged damages.

         The parties shall complete all discovery on or before August 22, 2019.

         Discovery should not be conducted in phases or be limited to or focused on particular
         issues.

      3. Any issues about disclosure, discovery, or preservation of electronically stored
         information, including the form or forms in which it should be produced;

         None.
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  4. Any issues about claims of privilege or of protection as trial-preparation materials,
     including—if the parties agree on a procedure to assert these claims after production—
     whether to ask the court to include their agreement in an order under Federal Rule of
     Evidence 502;

      None.

  5. What changes should be made in the limitations on discovery imposed under these rules or
     by local rule, and what other limitations should be imposed; and

      None.

  6. Any other orders that the court should issue under Rule 26(c) or under Rule 16(b) and (c).

      None.

  7. Whether any party has demanded or demands a trial by jury.

      Plaintiff has demanded a trial by jury.

  8. Whether or not the parties consent to have a United States Magistrate Judge conduct any
     and all further proceedings in this case, including trial, order the entry of a final judgment,
     and conduct all post-judgment proceedings.

      The parties do not unanimously consent to the jurisdiction of and entry of judgment
      by the United States Magistrate Judge pursuant to 28 U.S.C. §636(c).

DATED: February 22, 2019                            Respectfully submitted,

/s/ Joseph S. Davidson                              /s/ Cooper M. Walker (with consent)

Joseph S. Davidson                                  Cooper M. Walker
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